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 8 E: lawoffah@aol.com
 9 Attorneys for Plaintiffs
I0                               UNITED STATES DISTRICT COURT
II                                      DISTRICT OF NEVADA

12   FRAN DONOVAN eta!.,                              Case No.: 2:08-cv-0 1675-RCJ-RJJ
13                        Plaintiffs,                 SATISFACTION OF JUDGMENT
14   vs.
15   FLAMINGO PALMS VILLAS, LLC et at.,
16                        Defendants.
17
18                              SATISFACTION OF JUDGMENT
19          FOR AND IN CONSIDERATION ofthe sum total of SIX HUNDRED EIGHTY-ONE
20 THOUSAND SIX HUNDRED NINETY-NINE and 92/100 DOLLARS ($681,699.92), paid to
21 the Law Offices of Allen Hyman, Esq., client trust account on behalf of the Plaintiffs herein
22   (FRAN DONOVAN; CRAIG MAY ER; IAN J. HUTAGALUNG; KIMBALL PUGMIRE &
23   BRENDALEE PUGMIRE; ALEXANDER ORAEVSKY; JAUNITA CAUSEY; TIMOTHY G.
24   KLEPEIS; SHARI SIMON; BRAD NASH; STEVE HARTMAN; DAN NEIL & LORETTA
25   NEIL; DAVID NEWMAN & AMY NEWMAN; MICHAEL W. BALLARD; VALERIE
26   MINUTI; CLAUDE GROVES & KATHERINE GROVES; BRUCE MERKLE; CRAIG R.
27   WIESE; JAN M. EMTER; LANNY W. MOORE; JOSEPH M. MAXEY; GREGORY FEARON;
28   MATTHEW CANFIELD; GARY WESTON & JANE WESTON; THAD EVANS; KENNETH
     Case 2:08-cv-01675-RCJ-NJK Document 1362 Filed 01/30/15 Page 2 of 5




     E. VOELKER; THOMAS BUCKLEY & TRB HOLDINGS, LLC; DAN RlGIOLI & PALAZZO
 2 D. TAORIMA, LLC; ROLANDO PARADA; JEFF BRADFORD; MARK J. JEDRZEJAS;
 3 GARY MUNDY & TERRY MUNDY) (collectively the "Plaintiffs") (each of which Plaintiffs
 4   received the individual amounts more specifically set forth in Exhibit "A" attached hereto), by
 5   Defendant COMMONWEALTH LAND TITLE INSURANCE COMPANY ("Commonwealth"),
 6 the Plaintiffs now hereby, each and individually, through their attorney Allen Hyman, Esq.,
 7 acknowledge FULL SATISFACTION of the Judgment entered in their favor against
 8 Commonwealth on September 17, 201 3 in the above matter.
 9          The UNDERS IGNED counsel of record for the Plaintiffs does hereby, and on behalf of
10   the foregoing Plaintiffs, authorize the Clerk of the above Court to enter on the record said
11 Satisfaction of Judgment.
12          Dated this29
                      _ day of January, 2015.
13
14   LAW OFFICES OF ALLEN HYMAN                         WINNER & CARSON


: fS(lC3~-
17 Allen Hyman, Esq.                                    Brent Carson, Esq.
   10737 Riverside Drive                                510 South Eighth Street
18 North Hollywood, California 91602                    Las Vegas, Nevada 891 0 I
   Attorneys for the Plaintiffs.                        Attorneys for the Plaintiffs.
19
20
     STATE OF CALI FORNIA                 )             STATE NEVADA                                          )
21                                        )ss:                                                                )ss:
     COUNTY OF LOS A           ELES       )             COUNTY OF CLARK                                       )
22
23   Subscribed    sworn to before me                   S ubsq~ i !lrd and sworn to before me
     this       y of January, 20 15.                    thi s.:(lP dayofJanuary,2015.
24
25   N ary Public in and for said
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                                                        Notary Public in and for said
      ounty and State                                   County                        .....
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26                                                                   · ~·           SU S A i~ ~~~   .\ , · • '
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       Case 2:08-cv-01675-RCJ-NJK Document 1362 Filed 01/30/15 Page 3 of 5




CALIFORNIA JURAT WITH AFFIANT STATEMENT                                                GOVERN MENT CODE§ 8202
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~ Attached Document (Not ary to cross out lines 1-6 below)
0 See Stat ement Below (Lines 1- 6 to be completed only by document si                     r[s], not Notary)




        Signature of Document Signer No. 1                          Signature of Document Signer No. 2 (if any)


  A notary public or other officer completing this certificate verifies only the identity of the individual who signed the
  document to which this certificate is attached, and not the truthfulness, accuracy, or validity of that document.

Stat e of California                                          Subscribed and sworn to (or affirmed) before me
County of    tDS A\JG-t:~.LbS                                                                                          15
                                                              on this   zqm       day of ::f71-W f:?rLY          ' 20 __,
                                                              by          Date                 Month                  Year

                                                                )       ll.-Et\l ~ i MAJ'J
                                                                              A
                                                              (1 ______~~~--~~---------

                                                              (and (2) _ _ _ _ _ _ _ _ _ _ __ _ ),
                                                                                     Name(s) of Signer(s)
               LISA PILLSBURY LORD
              Commission II 2071089




                         Seal
                Place Notary Seal Above
- - - - - - - - - - - - - - OPTIONAL - - - - - - - - - - - - - - -
  Though this section is optional, completing this information can deter alteration of the document or
                   fraudulent reattachment of this form to an unintended document.
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Title or Type of Document: Sff[\5f1KJ\or-J            f.)~zt~£}0)                 Document Date: l)\       {2 q/ZOI 5
Number of Pages: _ _ Sig ner(s) Other Than Named Above: _ _ _ _ __ _ _ _ _ _ _ __ _

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                       Case 2:08-cv-01675-RCJ-NJK Document 1362 Filed 01/30/15 Page 4 of 5



                                                  EXHIBIT “A”

                            FRAN DONOVAN et al. v. FLAMINGO PALMS VILLAS, LLC et al
                                       Case No. 2:08-cv-01675-RCJ-RJJ

                                     PAYOFFS - SATISFACTION OF JUDGMENT

No.   Name                          General       Defense        Total        Total Interest     SUM TOTAL
                                                                              through            PAYOUT TO EACH
                                                                              January 25, 2015   PLAINTIFF
1     Fran Donovan                  $7,079.00     $10,000.00     $17,079.00   $30.24             $17,109.24
2     Craig Mayer                   $29,927.00    $10,000.00     $39,927.00   $70.70             $39,997.70
3     Ian J. Hutagalung             $7,548.00     $10,000.00     $17,548.00   $31.07             $17,579.07
4     Kimball & Brendalee Pugmire   $35,075.00    $10,000.00     $45,075.00   $79.81             $45,154.81
5     Alexander Oraevsky            $5,406.00     $5,000.00      $10,406.00   $18.43             $10,424.43
6     Juanita Causey                $5,406.00     $5,000.00      $10,406.00   $18.43             $10,424.43
7     Timothy G. Klepeis            $12,937.00    $10,000.00     $22,937.00   $40.61             $22,977.61
8     Shari Simon                   $12,937.00    $10,000.00     $22,937.00   $40.61             $22,977.61
9     Brad Nash                     $30,762.00    $10,000.00     $40,762.00   $72.17             $40,834.17
10    Steve Hartman                 $8,495.00     $10,000.00     $18,495.00   $32.74             $18,527.74
11    Dan & Loretta Neil            $7,079.00     $10,000.00     $17,079.00   $30.24             $17,109.24
12    David & Amy Newman            $7,213.00     $10,000.00     $17,213.00   $30.48             $17,243.48
13    Michael W. Ballard            $9,461.00     $10,000.00     $19,461.00   $34.46             $19,495.46
14    Valerie Minuti                $9,332.00     $10,000.00     $19,332.00   $34.23             $19,366.23

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15   Claude & Katherine Groves     $9,203.00     $10,000.00     $19,203.00   $34.00    $19,237.00
16   Bruce Merkle                  $20,275.00    $10,000.00     $30,275.00   $53.61    $30,328.61
17   Craig R. Wiese                $29,797.00    $10,000.00     $39,797.00   $70.47    $39,867.47
18   Jan M. Emter                  $8,031.00     $10,000.00     $18,031.00   $31.93    $18,062.93
19   Lanny W. Moore                $9,203.00     $10,000.00     $19,203.00   $34.00    $19,237.00
20   Joseph M. Maxey               $7,207.00     $10,000.00     $17,207.00   $30.47    $17,237.47
21   Gregory Fearon                $3,025.00     $5,000.00      $8,025.00    $14.21    $8,039.21
22   Matthew Canfield              $3,025.00     $5,000.00      $8,025.00    $14.21    $8,039.21
23   Gary & Jane Weston            $7,722.00     $10,000.00     $17,722.00   $31.38    $17,753.38
24   Thad Evans                    $7,079.00     $10,000.00     $17,079.00   $30.24    $17,109.24
25   Kenneth E. Voelker            $9,461.00     $10,000.00     $19,461.00   $34.46    $19,495.54
26   Thomas Buckley &              $21,369.00    $10,000.00     $31,369.00   $55.54    $31,424.54
     TRB Holdings, LLC
27   Dan Rigoli & Palazzo D.       $15,960.00    $10,000.00     $25,960.00   $45.97    $26,005.97
     Taormina, LLC
28   Rolando Parada                $23,259.00    $10,000.00     $33,259.00   $58.89    $33,317.89
29   Jeff Bradford                 $12,293.00    $10,000.00     $22,293.00   $39.47    $22,332.47
30   Mark J. Jedrzejas             $7,207.00     $10,000.00     $17,207.00   $30.47    $17,237.47
31   Gary & Terry Mundy            $7,722.00     $10,000.00     $17,722.00   $31.38    $17,753.38
                                                                                       = $681,699.92



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